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                       UNITED STATES DISTRICT COURT FOR THE
                          SOU TH ERN D ISTRICT O F FLORID A
                                    M iam iDivision

                             CaseNum ber:17-60907-ClV-M ORENO

  FEDERAL TM DE COM M ISSION ,eta1.,

               Plaintiffs,


  JEREM Y LEE M A RCU S,etal.,

               Defendants.


      O RDER DENYING AS M OOT RECEIVER 'S M O TION REGARDIN G RELIEF
          DEFEND A NT T ER ESA D U DA 'S FA ILU RE TO TU RN O VE R A SSE T

        THIS CAUSE cam e before the Court upon Receiver's M otion Regarding Relief

  DefendantTeresaDuda'sFailuretoTurnOverAsset(D.E.324),filedonDecember18.2018.

        THE COURT hasconsidered themotion,theRepol'tand Recommendation (D.E.352),
 the Response to the Reportand Recom m endation, and the pertinentportions ofthe record, and

 being otherwisefully advised in thepremises,itis

        ADJUDGED thatthem otion isDENIED asm ootin view ofthe Receiver'sresponseto

 the Reportand Recom mendation indicating thatthe Receiverhas secured theproperty and there

 isnoneed fortheCourtto issue awritofpossession.


       DONE AND ORDERED in ChambersatM iami, Florida,this                 ofM arch 2019.


                                          FED ERIC   .   .   OREN O
                                          UNITED YATESDISTRICT JUDGE
 Copiesfurnished to:

 CounselofRecord
